Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 1 of 13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.

PATRICK E. MCCAUGHEY III,
(Counts 6, 11, 12, 15, 16, 18,22, 25,26)

TRISTAN CHANDLER STEVENS,
(Counts 6, 7, 8, 14, 15, 16, 17, 21,25, 26)

DAVID LEE JUDD, and
(Counts 7, 9, 14, 15, 16, 19, 23,25, 26)

CHRISTOPHER JOSEPH QUAGLIN,
(Counts 1, 2,3, 4, 5, 10, 13, 15, 16, 20,24,
25, 26)

Defendants.

CRIMINAL NO. 21-CR-40 (TNM)

MAGISTRATE NO. 21-MJ-198, 21-MJ-
334 and 21-MJ-355

VIOLATIONS:

18 U.S.C. §§ 111(a)(), 2

(Assaulting, Resisting, or Impeding
Certain Officers, Aiding and Abetting)
18 U.S.C. § 111(a)(1) and (b)

(Inflicting Bodily Injury on Certain
Officers)

18 U.S.C. § 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

SECOND SUPERSEDING INDICTMENT

 

The Grand Jury charges that:
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 2 of 13

COUNT ONE
On or about January 6, 2021, at or around 1:08 p.m., within the District of Columbia,
CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 11 1(a)(1))

COUNT TWO

On or about January 6, 2021, at or around 1:11 p.m. to 1:13 p.m., within the District of
Columbia, CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede,
intimidate, and interfere with an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, while such officer or employee was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, at or around 1:11 p.m. to
1:13 p.m., CHRISTOPHER JOSEPH QUAGLIN, did forcibly assault, resist, oppose, impede,

intimidate, interfere and inflict bodily injury on, an officer and employee of the United States, and
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 3 of 13

of any branch of the United States Government (including any member of the uniformed services),
while such officer or employee was engaged in or on account of the performance of official! duties,
that is, Sgt. T.R., an officer from the United States Capitol Police Department, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Inflicting Bodily Injury on Certain Officers, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, at or around 1:14 p.m., within the District of Columbia,
CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 11 1(a)(1) and 2)

COUNT FIVE

On or about January 6, 2021, at or around 2:34 p.m., within the District of Columbia,

CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting

such an officer and employee, while such officer or employee was engaged in and on account of

the performance of official duties, and where the acts in violation of this section involve physical
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 4 of 13

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and 2)

COUNT SIX

On or about January 6, 2021, at or around 2:49 p.m. to 2:51 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY III and TRISTAN CHANDLER STEVENS did
forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section | 1 1(a)(1) and 2)

COUNT SEVEN
On or about January 6, 2021, at or around 2:56 p.m. to 2:58 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS and DAVID LEE JUDD did forcibly assautt,
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), and any person assisting such an officer and employee, while such officer or employee
was engaged in and on account ofthe performance of official duties,and where the acts in violation

of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 1 11(a)(1) and 2)
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 5 of 13

COUNT EIGHT

On or about January 6, 2021, at or around 3:03 p.m. to 3:11 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS using a deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, A.G., an officer from the United States Capitol Police
Department, while such officer or employee was engaged in or on account of the performance of
official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT NINE

On or about January 6, 2021, at or around 3:06 p.m. to 3:07 p.m., within the District of
Columbia, DAVID LEE JUDD using a deadly or dangerous weapon, that is, a firecracker, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 1] 1(a)(1) and (b))

COUNT TEN

On or about January 6, 2021, at or around 3:06 p.m., within the District of Columbia,

CHRISTOPHER JOSEPH QUAGLIN, using a deadly or dangerous weapon, that is, OC spray,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 6 of 13

of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee, that is, O.F.,
an officer from the Metropolitan Police Department, while such officer or employee was engaged

in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 1 1 1(a)(1) and (b))

COUNT ELEVEN

On or about January 6, 2021, at or around 3:06 p.m. to 3:15 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY III, using a deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, that
is, D.H., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections | 1 1(a)(1) and (b))
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 7 of 13

COUNT TWELVE
On or about January 6, 2021, at or around 3:06 p.m. to 3:15 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY UIT, using a. deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, that
is, H.F., an officer from the Metropolitan Police Department, while such officer or employee was

engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THIRTEEN
On or about January 6, 2021, at or around 3:07 p.m. to 3:12 p.m., within the District of
Columbia, CHRISTOPHER JOSEPH QUAGLIN, using a deadly or dangerous weapon, that is,
a shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, while
such officer or employee was engaged in or on account of the performance of official duties.
(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections | 1 1(a)(1) and (b))
COUNT FOURTEEN
On or about January 6, 2021, at or around 4:15 p.m. to 4:19 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS and DAVID LEE JUDD did forcibly assault,
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United States,

and of any branch of the United States Government (including any member of the uniformed

7
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 8 of 13

services), and any person assisting such an officer and employee, while such officer or employee
was engaged in and on account ofthe performance of official duties, and where the acts in violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Section 11 1(a)(1) and 2)

COUNT FIFTEEN

On or about January 6, 2021, within the District of Columbia and elsewhere, PATRICK
E. MCCAUGHEY III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, and
CHRISTOPHER JOSEPH QUAGLIN attempted to, and did, corruptly obstruct, influence, and
impede an official proceeding, that is, a proceeding before Congress, by attempting to enter the
United States Capitol without authority, committing an act of civil disorder, and engaging in
disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT SIXTEEN
On or about January 6, 2021, within the District of Columbia, PATRICK E.
MCCAUGHEY III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, and
CHRISTOPHER JOSEPH QUAGLIN committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer, lawfully engaged in the lawful performance

of his or her official duties incident to and during the commission of a civil disorder, and the civil
disorder obstructed, delayed, and adversely affected the conduct and performance of a federally
protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 9 of 13

COUNT SEVENTEEN

On or about January 6, 2021, in the District of Columbia, TRISTAN CHANDLER
STEVENS did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions and, dunng
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT EIGHTEEN

On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
III did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 10 of 13

COUNT NINETEEN

On or about January 6, 2021, in the District of Columbia, DAVID LEE JUDD did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a firecracker.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT TWENTY

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER JOSEPH
QUAGLIN did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, OC spray
and a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

10
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 11 of 13

COUNT TWENTY-ONE

 

On or about January 6, 2021, in the District of Columbia, TRISTAN CHANDLER
STEVENS did knowingly engage in any act of physical violence against any person and property
in a restricted buildingand grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a shield.

(Engaging in Physical Violence ina Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)1)(A))

COUNT TWENTY-TWO

On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
IIT did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))

COUNT TWENTY-THREE
On or about January 6, 2021, in the District of Columbia, DAVID LEE JUDD did
knowingly engage in any act of physical violence against any person and property in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

11
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 12 of 13

United States Capitol and its grounds, where the Vice President and Vice President-elect were
temporarily visiting and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a firecracker.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(A)
COUNT TWENTY-FOUR

 

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER JOSEPH
QUAGLIN did knowingly engage in any act of physical violence against any person and property
in a restricted building and grounds, thatis, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, OC spray and a shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))

COUNT TWENTY-FIVE
On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
I, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, and CHRISTOPHER JOSEPH
QUAGLIN willfully and knowingly engaged in disorderly and disruptive conduct in any of the
Capito] Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

12
Case 1:21-cr-00040-TNM Document 37 Filed 04/16/21 Page 13 of 13

COUNT TWENTY-SIX
On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
Ill, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, and CHRISTOPHER JOSEPH
QUAGLIN willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Chon DPhiipa/p
Aitornayle the United States in
and for the District of Columbia.

13
